§AO 85 (Rev. 8/98) Notice, Consent, and Order of Reference _ Exercise of Jurisdiction by a United States Magistrate ludge

ase 2:03-cv-02650-tmp Document 92 Filed 06/23/05 Page 1 of 2 Page|D 80
UNITED STATES DISTRICT CoURT

 

 

bd vs '¥ ¢rr\. District of lQ_ r\ nog§'¢ f.
L fha mgm/5 Bd.}/¢/ NOTICE, CONSENT, AND 0RDER 0F REFERENCE _-
\l EXERCISE OF JURISDICTION BY A UNITED STATES
Plaitltiff MAGISTRATE JUDGE

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NoTICE oF AVAILABILITY oF A UNITED STATES MAGISTRATB§EDGE’ a)!£)r
To EXERCISE JURISDICTION §§ § 1 '
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lo accordance with thc provisions of 28 U.s.C. §oso(c), cod ch.R.civ.P. ?3, you ccc oil §§ tham Uoivd states

magistrate judge of this district court is available to conduct any or all proceedings in this case including a jury`dr noi?ury tiial,
and to order the entry of a final judgment. Exercise of this jurisdiction by a magistrate judge is, however, permitted only if all
parties voluntarily consent.

You may, without adverse substantive consequences, withhold your consent, but this will prevent the court’s jurisdiction
from being exercised by a magistrate judge. If any party withholds consent, the identity of the parties consenting or withholding
consent will not be communicated to any magistrate judge or to the district judge to whom the case has been assigned

An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of appeals for
this judicial circuit in the same manner as an appeal from any other judgment of this district coult.

CoNsENT T0 THE EXERCISE oF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

In accordance with provisions of 28 U.S.C. §636(0) and Fed.R.Civ.P. 73, the parties in this case consent to have a United
States magistrate judge conduct any and all proceedings in this case, including the trial, order the entry of a final judgment, and
conduct all post-judgment proceedings

Party Represented Signatures [ Date

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ORDER OF REFERENCE

IT IS ORDERED that this case be referred to
United States Magistrate Judge, to conduct all proceedings and order the entry of judgment in accordance with 28 U.S.C.

§636(c) and Fed.R.Civ.P. 73.
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Date United States Dtstrict lodge

NOTE: RETURN THIS FORM TO TiiiCLERK oF THE COURT oNLY IF ALL iParRTuss HA\¥ CONSENTED

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UNITED s`TTEAsD"sTIC COURT - WESTERN D"'TRCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 2:03-CV-02650 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

